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 5                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 6                                  AT TACOMA

 7 DOUGLAS FERRIE,

 8                    Plaintiff(s),
                                                      Case No. 3:19−cv−05798−RBL
          v.
 9                                                    ORDER REGARDING INITIAL
     WOODFORD RESEARCH LLC, et al.,                   DISCLOSURES, JOINT STATUS
10                                                    REPORT, AND
                                                      EARLY SETTLEMENT
11                   Defendant(s).
12

13

14                             I. INITIAL SCHEDULING DATES

15         The Court sets the following dates for initial disclosure and submission of the

16    Joint Status Report and Discovery Plan:

17             Deadline for FRCP 26(f) Conference:                    11/14/2019

18             Initial Disclosures Pursuant to FRCP 26(a)(1):         11/21/2019

19             Combined Joint Status Report and Discovery
               Plan as Required by FRCP 26(f)
               and Local Civil Rule 26(f):                            11/29/2019
20
           The deadlines above may be extended only by the Court. Any request for an
21
      extension should be made by telephone to Debbie Nelson, Judicial Assistant,
22
      at (253) 882−3840. If Defendants have appeared, the parties are directed to meet and
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     to confer before contacting the Court to request an extension.
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          If this case involves claims which are exempt from the requirements of
 3
     FRCP 26(a) and 26(f), please notify Debbie Nelson, Judicial Assistant at
 4
     (253) 882−3840 or Dara Kaleel, Courtroom Deputy at (253) 882−3824.
 5                  II. JOINT STATUS REPORT & DISCOVERY PLAN
 6        All counsel and any pro se parties are directed to confer and provide the Court

 7   with a combined Joint Status Report and Discovery Plan (the "Report") by

 8   November 29, 2019. This conference shall be by direct and personal communication,

 9   whether that be a face−to−face meeting or a telephonic conference. The Report will be

10   used in setting a schedule for the prompt completion of the case. It must contain the

11   following information by corresponding paragraph numbers:

          1.   A statement of the nature and complexity of the case.
12
          2.   A proposed deadline for the joining of additional parties.
13
          3.   The parties have the right to consent to assignment of this case to a full time
14
     United States Magistrate Judge, pursuant to 28 U.S.C. §636(c) and Local Rule MJR 13
15
     to conduct all proceedings. The Western District of Washington assigns a wide range of
16
     cases to Magistrate Judges. The Magistrate Judges of this district thus have significant
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     experience in all types of civil matters filed in our court. Additional information about
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     our district's Magistrate Judges can be found at www.wawd.uscourts.gov. The
19
     parties should indicate whether they agree that the Honorable David W. Christel
20   may conduct all proceedings including trial and the entry of judgment. When

21   responding to this question, the parties should only respond "yes" or "no". Individual

22   party responses should not be provided. A "yes" response should be indicated only

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     if parties consent. Otherwise, a "no" response should be provided.
 2
          4.   A discovery plan that states, by corresponding paragraph letters (A, B, etc.),
 3
     the parties' views and proposals on all items in Fed. R. Civ. P. 26(f)(3), which
 4
     includes the following topics:
 5             (A) initial disclosures;
 6             (B) subjects, timing, and potential phasing of discovery;

 7             (C) electronically stored information;

 8             (D) privilege issues;

 9             (E) proposed limitations on discovery; and

10             (F) the need for any discovery related orders.

11        5.   The parties' views, proposals, and agreements, by corresponding paragraph

     letters (A, B, etc.), on all items set forth in Local Civil Rule 26(f)(1), which includes
12
     the following topics:
13
               (A) prompt case resolution;
14
               (B) alternative dispute resolution;
15
               (C) related cases;
16
               (D) discovery management;
17
               (E) anticipated discovery sought;
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               (F) phasing motions;
19
               (G) preservation of discoverable information;
20             (H) privilege issues;

21             (I) Model Protocol for Discovery of ESI; and;

22             (J) alternatives to Model Protocol.

23
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          6.   The date by which discovery can be completed.
 2
          7.   Whether the case should be bifurcated by trying the liability issues before
 3
     the damages issues, or bifurcated in any other way.
 4
          8.   Whether the pretrial statements and pretrial order called for by Local Civil
 5   Rules 16(e), (h), (i), and (k), and 16.1 should be dispensed with in whole or in part
 6   for the sake of economy.

 7        9.   Whether the parties intend to utilize the Individualized Trial Program set

 8   forth in Local Civil Rule 39.2 or any ADR options set forth in Local Civil

 9   Rule 39.1.

10        10. Any other suggestions for shortening or simplifying the case.

11        11. The date the case will be ready for trial. The Court expects that most civil

     cases will be ready for trial within a year after filing the Joint Status Report and
12
     Discovery Plan.
13
          12. Whether the trial will be jury or non−jury.
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          13. The number of trial days required.
15
          14. The names, addresses, and telephone numbers of all trial counsel.
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          15. The dates on which the trial counsel may have complications to be
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     considered in setting a trial date.
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          16. If, on the due date of the Report, all defendant(s) or respondent(s) have not
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     been served, counsel for the plaintiff shall advise the Court when service will be
20   effected, why it was not made earlier, and shall provide a proposed schedule for the

21   required FRCP 26(f) conference and FRCP 26(a) initial disclosures.

22        17. Whether any party wishes a scheduling conference before the Court enters

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     a scheduling order in the case.
 2
          18. List the date(s) that each and every nongovernmental corporate party filed
 3
     its disclosure statement pursuant to Fed. R. Civ. P. 7.1 and Local Rule 7.1.
 4
          If the parties are unable to agree to any part of the Report, they may answer in
 5   separate paragraphs. No separate reports are to be filed. If the parties wish to have a
 6   status conference with the Court at any time during the pendency of this action, they

 7   should notify Dara Kaleel, Courtroom Deputy at (253) 882−3824.

 8                            III. PLAINTIFF'S RESPONSIBILITY

 9        This Order is issued at the outset of the case, and a copy is sent by the clerk to

10   counsel for plaintiff (or plaintiff, if pro se) and any defendants who have appeared.

11   Plaintiff's counsel (or plaintiff, if pro se) is directed to serve copies of this Order on all

     parties who appear after this Order is filed. Such service shall be accomplished
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     within ten (10) days after each appearance. Plaintiff's counsel (or plaintiff, if pro se)
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     will be responsible for starting the communications needed to comply with this Order.
14
                  IV. JUDGE SPECIFIC PROCEDURAL INFORMATION
15
          All counsel and unrepresented parties should review the following on the Court's
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     Website: The Local Rules, Electronic Filing Procedures for Civil and Criminal Cases,
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     court forms, instruction sheets, and General Orders. www.wawd.uscourts.gov.
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          Counsel should note, when motions, stipulations or other documents are
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     filed with the Court that require a judge's signature, a Proposed Order must
20   accompany those motions and stipulations, and a copy of the Proposed Order must

21   also be emailed to the judge's orders box at: leightonorders@wawd.uscourts.gov

22   in Word or Word Perfect format.

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          Please be advised that Section III(L) of the Electronic Filing Procedures
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     now states that electronically filed pleadings or other documents which require an
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     attorney's signature must have the signor's name printed or typed on the line and
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     under all signature lines. The Court can no longer accept the responsibility for
 5   completing signatures on orders that are placed in the judge's orders box.
 6        V. EARLY SETTLEMENT CONSIDERATION AND NOTIFICATION

 7        If settlement is achieved, counsel shall immediately notify Debbie Nelson,

 8   Judicial Assistant at (253) 882−3840 or Dara Kaleel, Courtroom Deputy at

 9   (253) 882−3824.

10        The parties are responsible for complying with the terms of this Order.

11        DATED: The 30th of August 2019.

          The foregoing Minute Order entered by Debbie Nelson, Judicial Assistant,
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     BY THE DIRECTION OF THE HONORABLE RONALD B. LEIGHTON,
13
     UNITED STATES DISTRICT JUDGE.
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     ORDER REGARDING INITIAL DISCLOSURES, JOINT STATUS REPORT,
     AND EARLY SETTLEMENT − 6
